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IN THE UNITED STATES DISTRlCT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
V.
lZ-CR-6104FPG
MENDEECEES HARRIS a/l</a One a/k/a
Uno,

Def`endant. /'fi%v

    

 

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PLEA AGREEMENT \’?L\‘__HBLC@/

The defendant, MENDEECEES HARRIS a/ k/ a One a/ k/ a Uno, and the United
States Attorney for the Westem District of New York (hereinafter “the government") hereby

enter into a plea agreement with the terms and conditions as set out below.

I. TI'[E PLEA AND POSSIBLE SENTENCE

 

1. The defendant agrees to waive indictment and to plead guilty to a one-count
Superseding Information charging a violation of Title 21, United States Codel Section 846
(conspiracy to distribute, and possess with intent to distribute, one hundred (100) grams or
more of heroin and five hundred (500) grams or more of cocaine), for which the mandatory
minimum term of imprisonment is Hve (5) years and the maximum possible sentence is a
term of imprisonment of forty (40) years1 a fine of $5,000,000, a mandatory $100 special
assessment, and a term of supervised release of at least four (4) years and up to life. The
defendant understands that the penalties set forth in this paragraph are the minimum and

maximum penalties that can be imposed by the Court at sentencing

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2. 'l`he defendant Will also admit the Forfeiture Allegation of the Superseding
Information which alleges that certain assets therein identified are subject to forfeiture to the
United States pursuant to the provisions of Title 21, United States Code, Sections 853(a)(l)

and 853(p), and Title 28, United States Code, Section 2461(€).

3. The government agrees that an information pursuant to Title 21, United
States Code, Section 851 will not be filed with respect to the charge in the Superseding

lnformation.

4. The defendant understands that, if it is determined that he has violated any of
the terms or conditions of his supervised release, he may be required to serve in prison all or
part of the term of supervised release, up to three (3) years, without credit for time
previously served on supervised release. As a consequence, in the event the defendant is
sentenced to the maximum term of incarceration, a prison term imposed for a violation of
supervised release may result in the defendant serving a sentence of imprisonment longer

than the statutory maximum set forth in Paragraph l of this agreement

I[. ELED/[E`.NTS AND FACTUAL BASIS

5. 'l`he defendant understands the nature of the offense set forth in Paragraph l
of this agreement and understands that, if this case proceeded to trial, the government
would be required to prove beyond a reasonable doubt the following elements of the crime:

(l) the existence of the conspiracy charged in Count l of the Superseding Information; that

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is, an agreement or understanding between two or more persons to violate those provisions
of the law which make it illegal to distribute cocaine or heroin or to possess cocaine or
heroin with the intent to distribute it; (2) that the defendant knowingly became a member of
the conspiracy; that is, that he knowingly associated himself with and participated in the
alleged conspiracy to distribute or possess with the intent to distribute cocaine or heroin;
and (3) that a quantity of at least live hundred (500) grams of a mixture or substance
containing cocaine or at least one hundred (100) grams of a mixture or substance containing
heroin was reasonably foreseeable to the defendant as being within the scope of the

conspiracy.

FACTUAL BASIS

6. 'l`he defendant and the government agree to the following factsl which form
the basis for the entry of the plea of guilty including relevant conduct:

a, In furtherance of the conspiracy charged in Count 1 of the
Superseding lnformation, from at least 2006 through 2008, in New
York City, the defendant, MENDEECEES HAR_RIS a/l</ a One
a/k/ a Uno, participated in the distribution of quantities of cocaine
and heroin With Ronald Walker a/k/ a Kelly a/k/ a Kellz, and
Tyrus Harris a/k/a Sat, and others, to individuals who were
transporting the cocaine and heroin to, and distributing it in, the
area of Rochester, New York, in the Westem District of New
York.

b. For purposes of this plea agreement only, at least 40 kilograms of
cocaine and 1 kilogram of heroin are the amounts involved in the
defendants relevant conduct encompassed in Count 1 of the
Superseding Information which could be readily proven by the
government against the defendant The parties agree that, based
on the Drug Equivalency Tables of the Sentencing Guidelines, the
amount of cocaine and heroin that could be readily proven by the
government at trial or at a sentencing hearing against the defendant

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is the equivalent of at least 9,000 kilograms, but less than 10,000
kilograms, of marijuana

I]I. SENTENC[NG GU]DELINES

7. The defendant understands that the Court must consider, but is not bound by,

the Sentencing Guidelines (Sentencing Reform Act of 1984).

BASE OFFENSE LEV`EL

8. The government and the defendant agree that Guidelines §§ 2Dl.l(a)(5) and

2Dl.l(c)(1=l) apply to the offense of conviction and provide for a base offense level of 32.

SPECIE`IC OFFENSE CHARACTERISTICS
U.S.S.G. CHAPTER 2 ADIUSTMENTS
9. The government and the defendant agree that the following specific offense
characteristic does n_ot apply:
The two level increase pursuant to Guidelines § 2Dl.l(b)(l)
(possession of dangerous weapon).

U.S.S.G. CHAP'I`ER 3 AD.TUSTN.[ENTS

10. The government and the defendant agree that the following adjustment to the

base offense level does n_ot apply:

Any increase or decrease under Guidelines § 3Bl relating to
role in the offense.

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ADJUSTED OFFENSE LEVEL

ll. Based on the foregoing, it is the understanding of the government and the

defendant that the adjusted offense level for the offense of conviction is 32.

ACCEPTANCE OF R_`ESPONSIBILITY

12. At sentencing, the government agrees not to oppose the recommendation that
the Court apply the two (2) level downward adjustment of Guidelines § 3El.l(a)
(acceptance of responsibility), and further agrees to move the Court to apply the additional
one (l) level downward adjustment of Guidelines § 3E1.l(b), which would result in a total

offense level of 29.

CRIN[[NAL I{[STORY CATEGORY

13. It is the understanding of the government and the defendant that the
defendant's criminal history category is lI. The defendant understands that, if the defendant
is sentenced for or convicted of any other charges prior to sentencing in this action, the
defendants criminal history category may increase. The defendant understands that the
defendant has no right to withdraw the plea of guilty based on the Court’s determination of

the defendant's criminal history category.

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GUIDELINES' APPLICATION, CALCULATIONS AND IIV_[I’ACT

14. lt is the understanding of the government and the defendant that, with a total
offense level of 29 and a criminal history category of II, the defendant’s sentencing range
would be a term of imprisonment of 97 to 121 months, a fine of $15,000 to $5,000,000, a
special assessment of $100, and a period of supervised release of four (4) to five (5) years.
Notwithstanding this, the defendant understands that, at sentencing, he is subject to the

minimum and maximum penalties set forth in Paragraph l of this agreement

15. Notwithstanding the above calculations, it is the agreement of the parties,
pursuant to Rule ll(c)(l)(C) of the Federal Rules of Criminal Procedure, that the Court at
the time of sentence impose a term of imprisonment between 97 and 121 months as part of
the appropriate sentence in this case. If, after reviewing the presentence report, the Court
rejects this agreement, the parties will be relieved of their other obligations under this
agreement and the defendant shall then be afforded the opportunity to withdraw the plea of
guilty. If, after reviewing the presentence report, the Court rejects this agreement, the
government may move to vacate the plea agreement lf the government moves to vacate the
agreement, the defendants plea shall be deemed withdrawn This agreement does not affect
the amount of a fine or the length and conditions of a term of supervised release that may be

imposed by the Court at sentencing

16. The government and the defendant agree to the Sentencing Guidelines

calculations set forth in this agreement and neither party will advocate or recommend the
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application of any other Guideline, or move for any Guidelines departure, or move for or
recommend a sentence outside the Guidelines, except as specifically set forth in this
agreement A breach of this paragraph by one party will relieve the other party of any
agreements made in this plea agreement with respect to sentencing motions and
recommendations A breach of this paragraph by the defendant shall also relieve the

government from any agreements to dismiss or not pursue additional charges.

l7. The defendant understands that, except as set forth in paragraph 15, above,
the Court is not bound to accept any Sentencing Guidelines calculations set forth in this
agreement and the defendant will not be entitled to withdraw his plea of guilty based on the

sentence imposed by the Court.

IV. STATUTE OF LI[\/[ITATIONS

18. In the event the defendants plea of guilty is withdrawn, or conviction
vacated, either pre- or post-sentence, by way of appeal, motion, post-conviction proceeding,
collateral attack or otherwise, the defendant agrees that any charges dismissed pursuant to
this agreement shall be automatically reinstated upon motion of the government and further
agrees not to assert the statute of limitations as a defense to any other criminal offense
involving or related to the unlawful possession, manufacture, distribution or importation of
controlled substances, which is not time-barred as of the date of this agreement, This waiver
shall be effective for a period of six (6) months following the date upon which the

withdrawal of the guilty plea or vacating of the conviction becomes final.
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V. GOVERN`M]E`,NT RIGHTS AND RESERVATIONS

19. The defendant understands that the government has reserved the right to:

a. provide to the Probation Office and the Court all the
information and evidence in its possession that the government
deems relevant concerning the defendants background,
character and involvement in the offenses charged, the
circumstances surrounding the charges and the defendants
criminal history;

b. respond at sentencing to any statements made by the
defendant or on the defendants behalf that are inconsistent
with the information and evidence available to the government;

c. advocate for a specific sentence consistent with the terms
of this agreement, including the amount of a fine and the
method of payment;

d. modify its position with respect to any sentencing
recommendation or sentencing factor under the Guidelines
including criminal history category, in the event that
subsequent to this agreement the government receives
previously unknown information, including conduct and
statements by the defendant subsequent to this agreement,
regarding the recommendation or factor; and

e. respond to and take positions on post-sentencing
motions or requests for information which relate to post-
sentencing treatment of the defendantl

20. At sentencing, the government will move to dismiss the open count of the

Superseding Indictment (lZ-CR-6104) in this action as against the defendant

21. The defendant agrees that any financial records and information provided by
the defendant to the Probation Office, before or after sentencing, may be disclosed to the

United States Attorney’s Office for use in the collection of any unpaid financial obligation.

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VI. APPEAL RIGHTS

22. The defendant understands that Title 18, United States Code, Section 3742
affords a defendant a limited right to appeal the sentence imposed. The defendant,
however, knowingly waives the right to appeal or collaterally attack any component of a
sentence imposed by the Court which falls within or is less than the sentencing range for
imprisonment a fine and supervised release set forth in Section III, paragraph 14, above,
notwithstanding the manner in which the Court determines the sentence. In the event of an
appeal of the defendants sentence by the government, the defendant reserves his right to

argue the correctness of his sentence

23. The defendant understands that, by agreeing not to collaterally attack the
sentence, the defendant is waiving the right to challenge the sentence in the event that in the
future he becomes aware of previously unknown facts or a change in the law which he

believes would justify a decrease in his sentence.

24. The government waives its right to appeal any component of a sentence
imposed by the Court which falls within or is greater than the sentencing range for
imprisonment a fine and supervised release set forth in Section III, paragraph 14, above,
notwithstanding the manner in which the Court determines the sentence. However, in the
event of an appeal from the defendants sentence by the defendant, the government reserves

its right to argue the correctness of the defendants sentence

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V]I. FORFEI'I`URE PROVISIONS

25. As a condition of the plea, the defendant agrees not to contest any forfeiture
or abandonment proceeding that may be brought by the United States and agrees to
immediately criminally forfeit all of the defendants right, title and interest to any and all
assets which are subject to forfeiture pursuant to Title 21, United States Code, Section 853.
ln addition, the defendant agrees that the assets that have been the subject of administrative
forfeiture actions were properly forfeited in the administrative forfeiture actions pursuant to

Title 21, United States Code, Section 881(a)(6).

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26. The defendant acknowledges that the Drug Enforcement Administration
("DEA”) has completed administrative forfeiture on the asset listed below. The defendant
agrees not to contest the administrative forfeiture of the below asset and agrees to waive his
right, title and interest to any and all assets that were administratively forfeited. Those
assets include:

a) MOTOR VE}HCLE:

i) One 2011 Audi RS, bearing Vl'N #WUASUAFGXBNOOl?S'/', seized
from the premises of 3535 Kings College Place, Bronx, New York, on
August 23, 2012, titled and registered in the name of Mendeecees
Harris. This vehicle was administratively forfeited by the DEA on
January 28, 2013. The defendant further agrees that this vehicle was
properly forfeited pursuant to Title 21, United States Code, Section
881(a)(6), as it represents proceeds of the defendants illegal activities,
and waives any other rights the defendant may possess to contest that
forfeiture

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CR]MINAL FORFEITU'RE

27. The defendant agrees to immediately criminally forfeit all of the defendants
right, title and interest to the assets listed below, which are subject to forfeiture pursuant to
Title 18, United States Code, Section 982(a)(1) and/ or Title 21, United States Code, Section

853. T hose assets include:

a) CU'RRENCY:

i) The defendant agrees to forfeit any and all income and/or proceeds
paid for the benefit of the defendant, regardless of whether such income and/ or proceeds are
payable to himself or to others, as compensation for his work as a cast member of the VH~l
television show, Love and Hip Hop, New York, as well as for any personal appearances
made by defendant, artist promotion, management services and/ or rent paid by artists to
utilize the defendants recording studio, during the period that the defendant is on release
from custody and pending sentencing in this matter. lt is understood that these amounts
will be deposited by defendant during the period of his release, as directed, to secure
defendants bond. The defendant also consents and agrees to the forfeiture of these
amounts, pursuant to Title 21, United States Code, Section 853(a) and Title 21, United
States Code, Section 853(p), once they are no longer required as security for the bond.

ii) The defendant agrees to provide the government with the names and
contact information for the individuals that keep and maintain records of the compensation
that the defendant receives for his work as a cast member of the VH-l television show, Love

and l-Iip Hop, New York, as well as for any personal appearances made by defendant, artist

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promotions, management services and rent paid by artists to utilize the defendants
recording studio1 during the period that he is on release from custody. The government will
provide correspondence to the relevant individuals directing them to provide the
government with a written accounting of the defendants income during his release from
custody and pending his sentencing in this matter, including but not limited to, the
compensation generated from the filming of Love and Hip Hop, New York, as well as any
personal appearances, artist promotions, management services and rent paid by artists to
utilize the defendants recording studio, on a monthly basis. lf the government does not
receive said accounting, this plea agreement will be null and void.

iii) The defendant agrees that the total surn of all income and/ or proceeds
paid for the benefit of the defendant during the period that the defendant is on release from
custody and pending sentencing in this matter1 as described in paragraph 27(a)(i) above, but
in no event less than ONE HUNDRED THOUSAND DOLLARS (3100,000) United States
currency, shall be forfeited by the defendant pursuant to Title 21, United States Code,
Section 853(a) and Title 21, United States Code, Section 853(p), said sum serving as a
substitute asset representing monies involved in and proceeds obtained from the illegal
activity which the defendant is admitting to in this agreement To the extent that this
amount has not already been deposited by defendant to secure his bond as set forth in the
preceding paragraph of this agreement, said sum is due on or before the date set for
sentencing and shall be met by payment in the form of a certified check or bank draft made

payable to the United States Marshals Service or other form acceptable to the government

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iv) To secure said forfeiture payment the defendant agrees and
understands that if he fails to assign all his right title and interest to any payments he may
receive or may be due from the VH-l television show, Love and Hip Hop, New York, artist
promotions, management services and rent paid by artists to utilize the defendants

recording studio, this plea agreement will be null and void.

28. The defendant agrees that if any of the property described in paragraph 27,
above, as a result of any act or omission of the defendant cannot be located, has been
transferred or sold to, or deposited with, a third party, has been placed beyond the
jurisdiction of the Court, has been substantially diminished in value, or has been
commingled with other property which cannot be divided without difficulty, the United
States of America shall be entitled to forfeiture of substitute property of the defendant

pursuant to Title 21, United States Code, Section 853(p).

29. The defendant also agrees that the asset listed in paragraph 27, above, is
properly forfeitable to the United States pursuant to Title 18, United States Code, Section
982(a)(1) and/ or Title 21, United States Code. The defendant further agrees to fully assist
the government in the forfeiture of the aforementioned property and to take whatever steps
are necessary to pass clear title to the United States, including, but not limited to, surrender
of title and execution of any documents necessary to transfer the defendants interest in any

of the above property to the United States, as deemed necessary by the government

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30. After the acceptance of this plea of guilty, and pursuant to Rule 32.2(b)(2) of
the Federal Rules of Criminal Procedure, the Court will issue a Preliminag; Order of
Forfeiture covering the items listed in paragraph 27. The defendant hereby waives any right
to notice of such Preliminag[ Order of Forfeiture. The defendant further consents and
agrees that the Preliminai_'y Order of Forfeiture and a Final Order of Forfeiture shall issue
and become final as to the defendant prior to sentencing and agees that the forfeiture shall
be made part of the defendants sentence and included in the judgment pursuant to Rule

32.2(b)(4) of the Federal Rules of Criminal Procedure

31. The defendant further agrees to the entry of orders of forfeiture for the
aforementioned property and waives the requirements of Federal Rules of Crirninal
Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument
announcement of the forfeiture at sentencing and incorporation of the forfeiture in the
judgment The defendant acknowledges that he understands that the forfeiture of property
is part of the sentence that may be imposed in this case and waives any failure by the Court

to advise him of this, pursuant to Rule ll(b)(l)(J), at the time his guilty plea is accepted

32. The defendant agrees that forfeiture of the aforementioned property as set
forth in this agreement shall not be deemed an alteration of the defendants sentence
Forfeiture of the defendants property shall not be treated as satisfaction of any fine,
restitution, cost of imprisonment or any other penalty the Court may impose upon the

defendant in addition to forfeiture

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V`l]]. TOTAL AGREEMENT AN`D AFF[RMATIONS

 

33. This plea agreement represents the total agreement between the defendant
MENDEECEES HARRIS a/k/a One a/k/a Uno, and the government T here are no
promises made by anyone other than those contained in this agreement This agreement

supersedes any other prior agreements, written or oral, entered into between the government

and the defendant

WILLIAM J. HOCHUL, JR.
United States Attomey
Westem District of ew Y_prk

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FRANK H. SHERMAN
Assistant United 5tates Attorney

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I have read this agreement Which consists of 15 pages. 1 have had a full opportunity
to discuss this agreement with my attorney, Donald M. Thompson, Esquire. I agree that it
represents the total agreement reached between myself and the government No promises
or representations have been made to me other than what is contained in this agreement l
understand all of the consequences of my plea of guilty. I fully agree with the contents of

this agreement 1 am signing this agreement voluntarily and of my own free will.
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DE)FALD M. THOMPSON, Esq. MENDEECEES I-IARRIS
Attomey for the Defendant Defendant
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Dated: C" , 2015 Dated: Li\ {i gil , 2015

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